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Exhibit “5”



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                                         Mother 1




              Perpetrator         D1D               D2D

                               Jane Doe 1
                                    Jane Doe 1




               Jane Doe 1
                                                 Jane Doe 5
                            Jane Doe 5




                               Jane Doe 2




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                             John Doe 1




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